      Case 2:19-cv-00239-GMS Document 65-1 Filed 02/25/21 Page 1 of 1



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                             Case No. 2:19-cv-00239-PHX-GMS
10                       Plaintiff,                PROPOSED ORDER GRANTING
                                                   STIPULATED JOINT MOTION TO
11                                                 EXTEND DEADLINE FOR PARTIES’
     vs.                                           REPLY IN SUPPORT OF THEIR
12                                                 RESPECTIVE MOTIONS FOR
     Jeffrey Bardwell and Fanny F. Bardwell,       SUMMARY JUDGMENT
13   husband and wife,
14                       Defendants.
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16         The Court has reviewed the Parties’ Stipulated Joint Motion to Extend Deadline
17   for Parties’ Reply in Support of Their Respective Motions for Summary Judgment to
18   March 8, 2021. For good cause shown,
19         IT IS HEREBY ORDERED that the Parties’ Stipulated Joint Motion To Extend
20   Deadline For Parties’ Reply in Support of Their Respective Motions For Summary
21   Judgment (Plaintiff Ronald Pratte’s Opposition to Bardwell's Motion for Summary
22   Judgment filed by Mr. Pratte is Docket No. 61, his Separate Statement of Facts is Docket
23   No. 62; Defendants’ Response to Plaintiff’s Motion for Summary Judgment filed by
24   Defendants is Docket No. 63, their Separate Statement of Facts is Docket No. 64) To
25   March 8, 2021 is GRANTED.
26         DATED this ____ day of _______, 2021.
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